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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     SKILLZ PLATFORM INC.,                              Case No. 21-cv-02436-BLF
                                   8                    Plaintiff,
                                                                                            ORDER RE: ADMINISTRATIVE
                                   9             v.                                         MOTION FOR CLARIFICATION
                                  10     AVIAGAMES INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          Before the Court is Defendant’s Administrative Motion for Clarification, ECF No. 231, of

                                  14   the Court’s Order permitting limited discovery, ECF No. 223. The Court intended a modest,

                                  15   focused discovery requirement that would not affect the trial date and did not factor in the

                                  16   reasonable time necessary to conduct a privilege review. The Court is inclined to approve

                                  17   Defendant’s proposed clarification without prejudice to Plaintiff’s further request for extended

                                  18   discovery upon review of the fruits of this discovery request as interpreted by Defendant. Plaintiff
                                  19   shall respond to Defendant’s Motion for Clarification by September 1, 2023 at 10:00 a.m.

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                                  21          IT IS SO ORDERED.

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                                  23   Dated: August 31, 2023

                                  24                                                   ______________________________________
                                                                                       BETH LABSON FREEMAN
                                  25                                                   United States District Judge
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